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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION


 UNITED STATES OF AMERICA,                     )
                                               )
                        Plaintiff,             )
                                               )
        v.                                     )      Cause No. 1:14-cr-0096-SEB-TAB
                                               )
 FARIS B. KEENER,                              )                              - 16
                                               )
                        Defendant.             )



                             REPORT AND RECOMMENDATION


        On April 27, 2017, the Court held a hearing on the Petition for Warrant or Summons for

 Offender Under Supervision filed on March 21, 2017. Defendant Keener appeared in person

 with his appointed counsel Dominic Martin. The government appeared by Jeff Preston,

 Assistant United States Attorney. U. S. Parole and Probation appeared by Officer Jay Hardy.

        The Court conducted the following procedures in accordance with Fed. R. Crim. P.

 32.1(a)(1) and 18 U.S.C. § 3583:

        1.      The Court advised Defendant Keener of his rights and ensured he had a copy of

 the Petition. Defendant Keener orally waived his right to a preliminary hearing.

        2.      After being placed under oath, Defendant Keener admitted violations 1, 2, and 3

 as set forth in the Petition. [Docket No. 1054.]

        3.      The allegations to which Defendant admitted, as fully set forth in the petition, are:
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       Violation
       Number          Nature of Noncompliance


            1          “The defendant shall refrain from any unlawful use of a controlled
                       substance.”

                       On October 5, 19, December 2, 2016, and January 20, 2017, Mr. Keener
                       submitted urine samples which tested positive for amphetamine. He
                       admitted he used methamphetamine prior to each of the noted samples being
                       submitted. On February 10, 2017, a treatment counselor with Centerstone
                       advised the offender submitted a urine sample on January 26, 2017, which
                       tested positive for methamphetamine. On March 17, 2017, the probation
                       officer was notified the offender submitted urine screens on March 3 and 7,
                       2017, while a resident at Volunteers of America, which tested positive for
                       methamphetamine. He subsequently admitted methamphetamine use. The
                       results were also confirmed by Redwood Toxicology.

            2          “The defendant shall participate in a substance abuse treatment
                       program at the direction of the probation officer, which may include
                       no more than eight drug tests per month. The defendant shall abstain
                       from the use of all intoxicants, including alcohol, while participating in
                       a substance abuse treatment program. The defendant is responsible for
                       paying a portion of the fees of the substance abuse testing and/or
                       treatment in accordance with his ability to pay.”

                       On February 10, 2017, the treatment counselor reported to the probation
                       officer the offender had not attended Intensive Outpatient Treatment (IOP)
                       since January 26 missing approximately two weeks of treatment sessions.

            3          “You shall reside at a Residential Reentry Center (RRC) for a term of
                       up to 180 days. You shall abide by the rules and regulations of the
                       facility.”

                       On March 13, 2017, the probation officer was notified the offender had a
                       pass to go to Walmart the previous Saturday and instead had driven to his
                       home in North Vernon, Indiana. The offender subsequently admitted he did
                       not go to Walmart per his approved pass from Volunteers of America.


       4.       The Court finds that:

                (a)    The highest grade of violation is a Grade B violation.



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                 (b)    Defendant’s criminal history category is IV.

                 (c)    The range of imprisonment applicable upon revocation of supervised
                        release, therefore, is 12 months’ imprisonment.

        5.       The parties jointly recommended a sentence of six (6) months with no supervised

 release to follow. The Magistrate Judge, having considered the factors in 18 U.S.C. § 3553(a),

 and as more fully set forth on the record, finds that the Defendant violated the conditions in the

 Petition as alleged, and recommends that Defendant’s supervised release be revoked, and that

 Defendant be sentenced to the custody of the Attorney General or his designee for a period of six

 (6) months with no supervised release to follow. The Defendant is to be taken into custody

 immediately pending the District Judge’s action on this Report and Recommendation.

        The parties are hereby notified that the District Judge may reconsider any matter assigned

 to a Magistrate Judge. The parties have fourteen days after being served a copy of this Report

 and Recommendation to serve and file written objections with the District Judge.



        Dated: 1 MAY 2017




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